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 4   (415) 681-9572
 5
 6   Attorney for Matthew D. Sawyer,
 7   Beverly Kennedy
 8   Ruben Hernandez, Jr.
 9   R.I. Refrigeration Supply Co., Inc.
10
11
12                  U.S. District Court, Northern District of California
13
14   Rodney Martin et al.                               NO. CV 07-05747 EMC
15
16                  Plaintiffs                          JOINDER IN MOTION TO
17                                                      DISMISS
18   vs.
19
20                                                      [FRCP 12(b)(1), (2), (3) & (6)]
21   D. Andrew Byrne, et al.,
22                                                      Hearing: Jan. 23, 2008
23        Defendants                                             10:30 AM
24   ___________________________________                         Courtroom C
25                                                               Magistrate Chen
26
27
28            Defendants Beverly Kennedy, Ruben Hernandez, Jr., and R.I.
29
30   Refrigeration Supply Co., Inc. hereby join in the Motion To Dismiss
31
32   previously filed by Matthew D. Sawyer and set for hearing on the above date.
33
34
35            DATED: 12/20/07                              /s/
36                                         ___________________________________
37                                         ARLO H. SMITH , Attorney for Matthew D.
38                                         Sawyer, Beverly Kennedy, Ruben Hernandez,
39                                         Jr., R.I. Refrigeration Supply Co., Inc.
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 1
 2
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 9   Beverly Kennedy
10   Ruben Hernandez, Jr.
11   R.I. Refrigeration Supply Co., Inc.
12
13
14                 U.S. District Court, Northern District of California
15
16   Rodney Martin et al.                              NO. CV 07-05747 EMC
17
18                 Plaintiffs                          PROOF OF SERVICE
19   vs.
20                                                     Hearing: Jan. 23, 2008
21                                                              10:30 AM
22   D. Andrew Byrne, et al.,                                   Courtroom C
23                                                              Magistrate Chen
24        Defendants
25   ___________________________________
26
27
28                               PROOF OF SERVICE
29
30
31          I, the undersigned, declare: I am over 18 years of age, and not a party to
32
33   this action. On the date indicated below, I caused a true and correct copy of the
34
35   documents described below to be mailed to plaintiff in pro se at his
36
37   address of record:
38
39   Rodney Martin
40   P.O. Box 1591
41   El Cerrito, CA 94530
42
43
44   Documents served by Mail:
45
46
     Case 4:07-cv-05747-CW       Document 7-2      Filed 12/20/2007     Page 2 of 2



 1              JOINDER IN MOTION TO DISMISS
 2
 3
 4
 5              CONSENT TO PROCEED BEFORE MAGISTRATE
 6
 7       I declare under penalty of perjury the foregoing is true and correct.
 8
 9       DATED: 12/20/07
10                                   ___________________________________
11                                   ARLO H. SMITH , Attorney for Matthew D.
12                                   Sawyer, Defendants Beverly Kennedy, Ruben
13                                   Hernandez, Jr., R.I. Refrigeration Supply Co.,
14                                   Inc.
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